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THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION

SANDRA L. VALENTINO and WILLIAM P.
BRAMANTI,

Plaintiffs,

Vv. No. 04 C 2373

VILLAGE OF SOUTH CHICAGO HEIGHTS, Honorable Judge William J. Hibbler
et al.,

Defendants.

 

PLAINTIFFS’ OBJECTION AND RESPONSE TO
DEFENDANT VILLAGE OF SOUTH CHICAGO HEIGHTS’S MOTION FOR
ADDITIONAL TIME TO FILE ITS REPLY IN SUPPORT OF ITS BILL OF COSTS

Now come Plaintiffs SANDRA L. VALENTINO and WILLIAM P. BRAMANTI, through
their counsel, KURTZ LAW OFFICES, LLC, and file their Objection and Response to
Defendant Village of South Chicago Heights’s (hereafter “Defendant”) Motion for Additional
Time to File Its Reply In Support of Its Bill of Costs, and in support state as follows:

1. On October 27, 2006, Defendant Village of South Chicago Heights and the individual
Defendants, Peterson and Owen, filed separate Bill of Costs. Defendant Village sought to
recover $ 8,588.38 from Plaintiffs.

2. On November 8, 2006, this Court entered an Order relative to Defendants’ Bill of Costs,
setting Plaintiffs’ responses to Defendants’ Bill of Costs to be filed by November 29, 2006, and
Defendants’ Replies to be filed by December 13, 2006.

3. Defendant Village failed to comply with this Court’s Order of November 8, 2006 and did
not file its Reply on December 13, 2006, nor did Defendant Village file a motion for extension of

time on or before the December 13, 2006 deadline set by this Court. Instead, Defendant filed a

motion for additional time some eight (8) days past the deadline seeking to have an additional
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twenty-two (22) days (in addition to the fourteen (14) days it already had) to file its Reply
without good cause shown.

4. There are two other attorneys that have appearances on file in this matter for Defendant
Village. (See Docket.) No explanation is provided for why the other attorneys could not have
filed Defendant’s Reply by the December 13, 2006 deadline or at least a motion for extension of
time by then. Moreover, Defendant Village’s counsel does not provide for the Court the cases or
purported dates that he claims to have had “other commitments.”

5. Moreover, in its Motion for Additional Time, Defendant fails to provide any explanation
for why it could not have filed its motion on or before the December 13, 2006 deadline.

6. As presented in Plaintiff's Response to Defendant’s Bill of Costs, Defendant provided the
Court with “absolutely no basis to analyze the reasonableness of their requests or the necessity of
the costs for which they s[ought] reimbursement. . . defendants [did] not provided any evidence
as to the nature of the depositions or their use in the case. . . defendants provide[d] no
information about what was copied or how the copies were used . . . [or] any information to
determine the necessity of the photocopies.” See Stark v. PPM America, Inc., No. 01 C 1494,
2003 WL 21223268 at *8 (N.D_IIl. May 23, 2003) (Hibbler, J.); see also cases cited in Plaintiffs’
Response to Defendant Village’s Bill of Costs. Therefore, the Court should deny Defendant’s
costs entirely, as it did in Stark, supra.

7. Because Defendant did not timely file its Reply or at the very least timely file a motion
for additional time by the Court’s December 13, 2006 deadline, because Defendant does not set
forth in its motion good cause for the delay, and because Defendant’s Bill of Costs should be
denied in its entirety for the reasons set forth in Plaintiff's Response and in accordance with this

Court’s prior holding in Stark, the Court should deny Defendant’s Motion for Additional Time.
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WHEREFORE, for the above stated reasons, Plaintiffs respectfully request that the Court

deny Defendant Village of South Chicago Heights’s Motion for Additional Time to File Its

Reply In Support of Its Bill of Costs, deny Defendant’s Bill of Costs in its entirety, and grant

Plaintiffs such other relief that is just and equitable.

Dana L. Kurtz, Esq.

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Respectfully Submitted,

SANDRA L. VALENTINO and
WILLIAM P. BRAMANTI

s/ Dana L. Kurtz

 

Electronically filed on December 26, 2006
Plaintiffs’ Attorney
